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                                                                         JUL 25 2023
 4   Attorneys for Defendant
                                                                    CLERK U.S. BANKRUPTCY COURT
 5                                                                  Central District of California
                                 UNITED STATES BANKRUPTCY COURT     BY may        DEPUTY CLERK
 6
                                 CENTRAL DISTRICT OF CALIFORNIA
 7
                                       LOS ANGELES DIVISION
 8
     In re                                        )   Case No. 2:23-bk-10990-SK
 9                                                )
     LESLIE KLEIN,                                )   Chapter 11
10                                                )
                    Debtor.                       )
11                                                )   Adv. No. 2:23-ap-01150-SK
                                                  )
12                                                )
     ERICA VAGO and JOSEPH VAGO,                  )
13                                                )
                                                  )   ORDER ON STIPULATION (1) TO
14                  Plaintiff,                    )   EXTEND TIME TO RESPOND TO
                                                  )   COMPLAINT, AND (2) TO CONTINUE
15           v.                                   )   STATUS CONFERENCE
                                                  )
16   LESLIE KLEIN,                                )
                                                  )
17                  Defendant.                    )   Present Status Conference Date:
                                                  )   Date:      August 9, 2023
18                                                )   Time:      9:00 a.m.
                                                  )   Place:     Courtroom 1575
19                                                )
                                                  )
20                                                )   Requested Status Conference Date:
                                                  )   Date:     September 6, 2023
21                                                )   Time:     9:00 a.m.
                                                  )   Place:    Courtroom 1575
22                                                )
                                                  )
23                                                )
24

25           The Court having considered the “Stipulation (1) to Extend Time to Respond to
26   Complaint, (2) to Continue Status Conference” (“Stipulation”), Docket #13, entered into by
27   Plaintiff Erica Vago and Joseph Vago (the “Plaintiff”), and Defendant, Leslie Klein (“Klein” or
28
     ORDER ON STIPULATION (1) TO EXTEND TIME TO RESPOND TO COMPLAINT, (2) TO CONTINUE
                                    STATUS CONFERENCE
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 1   “Defendant”, and together with Plaintiff, the “Parties”), through their respective attorneys,

 2   having found that notice is proper, and based upon the Stipulation;

 3           IT IS HEREBY ORDERED THAT:

 4           1.      The Stipulation is approved.

 5           2.      Defendant’s time to respond to the Complaint shall be extended to and including

 6   August 15, 2023.

 7           3.      The Status Conference for the Complaint shall be continued from August 9, 2023 at

 8   9:00 a.m. to September 6, 2023 at 9:00 a.m.

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     Date: July 25, 2023
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     ORDER ON STIPULATION (1) TO EXTEND TIME TO RESPOND TO COMPLAINT, (2) TO CONTINUE
                                    STATUS CONFERENCE
